Exhibit A

Case 1:16-cv-01354-CCE-JEP Document 6-1 Filed 11/22/16 Page 1 of 2
a,

e + pBeiven
N.C. Dept. NRCD

eEP 22 1989 ‘PEI;

 

 

W insten-Salem ac
Reniona UNtce

G & H OIL EQUIPMENT, INC.
September 21, 1989

NC Department of Natural Resources
and Community Development

8025 North Point Blvd., Suite 100

Winston Salem, NC 27106-3295

Subject: Tank Closure
Faircloth Grocery
Rt. 6, Box 55 J
Burlington, NC

Gentlemen:

On August 16, 1989, G & H excavated and removed one (1) 550 gallon Kerosene
storage tank from subject location.

Tank was found to have perforations and site soil contamination was suspected.
All excavated soil was stockpiled on plastic film at location.

Tank was delivered to Safeway Tank Disposal, Inc. A copy of Tank Disposal
Certification is attached.

A soil sample was taken to Guilford Laboratories for total petroleum
hydrocarbon analysis. Results indicate 2040 p.p.m? A copy of test
results is attached.

The owner, L. W. Pritchett, Jr., Inc. is preparing a site to place contaminated
soil where it can be aerated to meet acceptable standards. When this site is
readied, G & H will continue excavation from tank pit until clean soil is
uncovered and will furnish your office with soil test to confirm contaminated
soil has been removed. _

Please call if you have any questions.
Sincerely yours,,

Ulan ¥ kt if

William V. Hill
Vice President

Attachments

Copy to: L. W. Pritchett, JITe5 Intex
1549 W. Webb Avenue
Burlington, NC 27217

4232 High Point Rd. ° P.O. Box 7446 © Greensboro, NC 27417-0446 eo (919) 292-5143

Shoffner000001
Case 1:16-cv-01354-CCE-JEP Document 6-1 Filed 11/22/16 Page 2 of 2
